              Case 16-36960          Doc 29       Filed 11/29/18 Entered 11/29/18 15:28:10                          Desc Main
                                                     Document Page 1 of 1

                                                 United States Bankruptcy Court
                                              Northern District of Illinois, Eastern Division

     IN RE:    Tycee L. Hightower                                    )              Chapter 13
                                                                     )              Case No. 16 B 36960
               Debtor(s)                                             )              Judge Timothy A Barnes

                                                           Notice of Motion

         Tycee L. Hightower                                                         Debtor A ttorney: David M Siegel
         1152 W. 102nd St,                                                          via Clerk's ECF noticing procedures
         Chicago, IL 60643


                                                                                    >    Dirksen Federal Building
     On December 06, 2018 at 9:00 am, I will appear at the location listed to the   >    219 South Dearborn
     right, and present this motion.                                                >    Courtroom 744
                                                                                    >    Chicago, IL 60604
     I certify under penalty of perjury that this office caused a copy of this
     notice to be delivered to the persons named above by U.S. mail or by the
     methods indicated on or before Thursday, November 29, 2018.                    /s/ MARILYN O. MARSHALL
                                                                                    MARILYN O. MARSHALL, TRUSTEE

                               Motion to Dismiss Case for Failure to Make Plan Payments

     Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed, pursuant to 11 U.S.C. §1307 [c]
     [6], stating:

     On November 21, 2016, the debtor filed a petition under Chapter 13 of the Bankruptcy Code which was confirmed by the Court
     on February 23, 2017, for a term of 36 months with payments of $375.00.

     The status of the debtor's plan is:   Current Month           Cash Due             Cash Received     Payment Default
                                                 24                $11,743.00             $9,028.50          $2,714.50

     A summary of the 12 most recent receipt items is set forth below:              Report Date: 11/29/2018
                                                                                    Due Each Month: $375.00
                                                                                    Next Pymt Due: 12/21/2018

          Date       Ref Num               Amount                             Date       Ref Num               Amount
Z5R 0284630615W-FIRSTSERVICE
      06/22/2018             RE              $173.07                Z5R 0284630629W-FIRSTSERVICE
                                                                          07/06/2018             RE              $173.07
Z5R 0284630713W-FIRSTSERVICE
      07/20/2018             RE              $173.07                Z5R 0284630727W-FIRSTSERVICE
                                                                          08/03/2018             RE              $173.07
      08/17/2018
Z5R 0284630810W-FIRSTSERVICE RE              $173.07                Z5R 0284630824W-FIRSTSERVICE
                                                                          08/31/2018             RE              $173.07
Z5R 0284630907W-FIRSTSERVICE
      09/14/2018             RE              $173.07                Z5R 0284630921W-FIRSTSERVICE
                                                                          09/28/2018             RE              $173.07
      10/12/2018
Z5R 0284631005W-FIRSTSERVICE RE              $173.07                Z5R 0284631019W-FIRSTSERVICE
                                                                          10/26/2018             RE              $173.07
Z5R 0284631102W-FIRSTSERVICE
      11/09/2018             RE              $173.07                Z5R 0284631116W-FIRSTSERVICE
                                                                          11/26/2018             RE              $173.07

     WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this court deems just and proper.

     Office of the Chapter 13 Trustee                                               /s/ MARILYN O. MARSHALL
     224 S Michigan Ave                                                             MARILYN O. MARSHALL, TRUSTEE
     Ste 800
     Chicago, IL 60604
     (312)431-1300
